
Per Curiam.
For the reasons stated in the opinion in Buck Ridge Coal Mining Co. v. Rosoff E. Co., Appeal No. 1 (215 App. Div. 441), herewith handed down, the order appealed from should be reversed, with ten dollars costs and disbursements, and the motion of the defendant, respondent, denied, with ten dollars costs, and the plaintiff’s cross-motion for leave to bring in and join Charles H. Welles, Jr., as a party plaintiff granted, with ten dollars costs.
Present — Clarke, P. J., Merrell, Finch, Martin and Burr, JJ.
Ordered reversed, with ten dollars costs and disbursements, and motion of defendant, respondent, denied, with ten dollars costs, and plaintiff’s motion for leave to bring in and join Charles H. Welles, Jr., as a party plaintiff granted, with ten dollars costs.
